Case: 1:17-md-02804-DAP Doc #: 2373-23 Filed: 08/14/19 1 of 7. PageID #: 388303




                EXHIBIT 48
        Case: 1:17-md-02804-DAP Doc #: 2373-23 Filed: 08/14/19 2 of 7. PageID #: 388304




           Customer Name:
           McKesson Sales Representative:
           McKesson DC:



           Questionnaire completed:
           Affidavit signed:
           Regulatory Review:



           Approved:
           Regional Director Regulatory Affairs




CONF IDENTIAL-SUBJECT TO PROTECTIVE ORDER                                        MCKMDL00494348
        Case: 1:17-md-02804-DAP Doc #: 2373-23 Filed: 08/14/19 3 of 7. PageID #: 388305




                                        Pharmacy Questionnaire
                  The following information is to be completed by Pharmacy owner and McKesson
           Sales Representative during on-site evaluation.

                          0New Customer           0Existing Customer - New Location

              I.     General I n{ormation & Licensing

                     a. Pharmacy Name:
                        DBA _     (if name differs from Corporate name)

                     b. Pharmacy Address:

                     c. Phone:          Fax:

                     d. Pharmacy email address:

                     e. Pharmacy License (Include all states in which licensed)
                          I               State              I             License#




                     f.   DEA Registration number:

                              1.   Does address on registration match pharmacy actual address?
                                   0Yes 0No

                     g. Pharmacist Licenses
                        Pharmacist-in-charge (PIC)      (List all states pharmacists licensed)


                          IOwner is   PI~~e                 State             License#




                          Pharmacists
                                        Name                State             License#




CONF IDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKMDL00494349
        Case: 1:17-md-02804-DAP Doc #: 2373-23 Filed: 08/14/19 4 of 7. PageID #: 388306




              IL    Ownership/Business History

                    a. Owner Information (complete only if owner differs from PIC)
                       Owner(s) name: _ __
                       DBA:
                       Address:
                       Phone:

                    b. Ownership type:
                       0Sole Proprietor
                       0Corporation, if so State
                       0Partnership

                    c. Number of years owner has operated pharmacy

                    d. Owner operates additional pharmacies 0Yes 0No
                       I     Phannacy Name         I                Address




                    e. History. Please provide explanation below for any Yes answers.

                            1.   Has pharmacy ever had DEA license suspended or revoked?
                                 0Yes 0No
                           II.   Has pharmacy ever had a state license suspended or revoked?
                                 0Yes 0No
                           m.    Has pharmacy owner ever had a DEA license suspended or
                                 revoked at this location or any other location?
                                 0Yes 0No
                           Iv.   Has any pharmacist ever had their state license suspended or
                                 revoked and/or been disciplined by any regulatory agency?
                                 0Yes 0No
                            v.   Does the pharmacy have any other registration (wholesale,
                                 repackage)?
                                 0Yes 0No
                           v1.   Does pharmacy ship into any states it is not licensed for?
                                 0Yes 0No




CONF IDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKMDL00494350
        Case: 1:17-md-02804-DAP Doc #: 2373-23 Filed: 08/14/19 5 of 7. PageID #: 388307




                             VII .   Has any previous wholesaler ceased shipping or restricted
                                     purchases of controlled substances?
                                     0Yes 0No


                            Explanation:




              Ill.   Business Information
                     a. List wholesale distributors used in last 24 months
                        I            Wholesaler      I      Primary        I
                                                                                 Secondary




                     b. How does pharmacy receive business, please list percent%
                        Walk-in
                        Phone
                        Fax
                        Internet

                     c. Is the pharmacy affiliated with an Internet Website or have it's own site?
                        If yes, web address

                     d. Does pharmacy download and fill prescriptions from a website?
                        If yes, web address

                     e. Pain Management Clinics
                            1. Does phannacy provide direct service to or does it receive
                               significant business from Pain Management Clinics?
                               0Yes 0No If yes,%
                             Name of Pain
                         Management Clinics             Address        Prescribers Name




CONF IDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKMDL00494351
        Case: 1:17-md-02804-DAP Doc #: 2373-23 Filed: 08/14/19 6 of 7. PageID #: 388308




                    f.   Does pharmacy service nursing homes, Long Term Care or hospice
                         facilities?
                         0Yes 0No

                    g. Is pharmacy located with in a medical center or clinic?
                       0Yes 0No

                    h. Is this a closed door pharmacy?
                       0Yes 0No

                    1.   Does pharmacy regularly fill prescriptions written by out of state
                         providers?
                         0Yes 0No


              IV.   Purchasing Information
                    a. Total Estimated Monthly Purchases$

                    b. Purchase breakdown:
                       Rx%_ (including listed chemicals and controlled substance)
                       Controlled Substance%
                       Listed chemical%
                       Non-Rx (OTC/HBA/DivlE) %

                    c. Presc1iptions filled per day_ per month

                    d. Method of payment to the pharmacy:
                       Private Insurance%
                       Medicare&tledicaid %
                       Cash%
                       Other%


              V.    Controlled Substance Purchases

                    a. Estimate dose units (tablets/capsules) dispensed per month for each of the
                       following Controlled Substances. Total of all brand and generic for the
                       base items.
                       Hydrocodone _                         Phentermi ne
                       Oxycodone_                            Methadone
                       Alprazolan

                    b. If any of the above is greater than 5000 dose units please provide
                       information to support purchase levels.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                      MCKMDL00494352
        Case: 1:17-md-02804-DAP Doc #: 2373-23 Filed: 08/14/19 7 of 7. PageID #: 388309




                        Explanation:




              VI.   Physical Inspection
                    a. General description of pharmacy and surrounding area in which business
                       is located, include condition of the pharmacy.




                    b. General description of pharmacy customers.




                    c. Does pharmacy have adequate security?




                    Photograph pharmacy outside and inside include front entrance, pharmacy
                    interior, pharmacy counter.




              McKesson Sales Representative                         Owner/Pharmacist




CONF IDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                     MCKMDL00494353
